Case 1:07-cr-Q@Q4die GhRreposmmes aS Tikilen OodRe/16 Page 1 ofS
Coat FOR THE DISTRICT OF MARYLAND
ff
Fletcher Dorsett
Petitioner,

MOTION UNDER 28 U.S.C. §2255(f) (4)
¥v Criminal Case No. 07-Cxr-004455 (BEL)
Honorable Benson E. Legg

eh -} _ ae
United States of America G R G LT ff
Plaintiff(s).

District of Maryland ee. RECEIVED

Docket No.: 07-CR-00445 JUL 29 2016

Date of Judgement of Conviction: March 9, 2009. AT BALT, ws
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Date of Sentence: February 20, 2009 BY TRICT OF many

Length of Sentence: 96 months DEPUTY

Nature of crime(s): Bank robbery 18 U.S.C. 2113(a) © :

Plea of GUILTY entered on this judgement.

There was NO testimony at a pre-trial or post-trial hearing.

There was NO prior appeal(s) from this judgement.

There were NO direct appeals, motion/petitions or applications concerning this judgement.

There were NO evidentiary hearing(s) pertaining to a motion, petition or application concern-
ing this judgement. z

GROUND ONE:
Dorsett contends that his Fifth, Sixth and Fourteenth Améndment Rights have been violated

due to his sentence being in violation of §§1B1.3, 4Al.1, 4A1.2 and Amendment 709. Which
was due to him receiving ineffective assistance of counsel from his trial counsel Attorney
Sean P, Vitrano.

Dorsett contends had Attorney Vitrano evaluated Dorsetts's criminal history instead of
following the Government's calculation, Dorsett's sentence would not have had a procedural
error that has caused Dorsett's sentence to be substantially unreasonable and unfair; which
has caused Dorsett’s sentence to be in violation of 1) Dorsett's Constitutional Rights
(Dorsett's Fifth, Sixth and Fourteenth Amendment Rights); and 2) the provisions set forth
under U.S.S.G. §§1B1.3, 4Al.1 and 4Al1.2.

One of the responsibilities of the defense counsel is to verify the aspects of the defen-
dant's offense level and the defendant's criminal history points; to ensure that these items
are accurate due to these sections being major factors of the defendant's sentence.

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There were NO post-conviction motions, petitions, or applications filed concerning this
judgement. ,
Case 1:07-cr-00445-GLR Document 46 Filed 07/29/16 Page 2 of 5
There were NO hearing(s} concerning GROUND ONE of this motion for relief,

There were NO denials or appeals filed for motions, petitions or applications concerning
this judgement.

GROUND TWO: .
Dorsett contends that his sentence is in violation of the provisions set forth in §1B1.3 of

the United States Sentencing Guidelines. Dorsett contends that his state offense in

{{ 30, 31, 32 and 37 are “relevant conduct" under the provisions of §1B1.3; also. his states
convictions in {{ 33, 34, 36 and 38 are "relevant conduct" under the provisions set forth in
§1B1.3.

Dorsett contends that if these state convictions were properly viewed under the provisions
set forth in §1B1.3, his criminal history points would be 9 instead of 25; which would have
yielded a guideline range of 57 to 71 months instead of 77 to 96 months,

This error in the Guideline range has caused Dorsett's Fifth and Fourteenth Amendment Rights
to be violated; as well as the provisions and commentary set forth in §§1B1.3, 4Al.1 and

4Ai.2.

There were NO post-conviction motions, petitions, or applications filed concerning this
judgement.

There were NO hearing(s} concerning GROUND TWO of this motion for relief.

There were NO denials or appeals filed for motions, petitions or applications concerning
this judgement,

GROUND THREE:
Dorsett contends that several of his sentences are in violation of either §§4Al.1 or 4Al1.2

or both; or in violation of Amendment 709.

Dorsett contends that he was sentenced on February 20, 2009; approximately eighteen months
after Amendment 709 went into effect. Dorsett contends that several of his sentences that
received criminal history points in {| 22-38 are in violation of Amendment 709; which that
Amendment went into effect on November 1, 2007,

This violation of the United States Sentencing Guidelines are additional violations of

Dersett's Constitutional Rights and violations of the Guidelines.

There were NO post-conviction motions, petitions or applications filed concerning this
judgement.

There were NO hearing(s) concerning GROUND THREE of this motion for relief of judgment.

There were NO denials or appeals filed for motions, petitions or applications concerning
this judgement.

There are NO motions, petitions or appeals NOW PENDING (filed or not yet decided) in any
Court for this judgement.

The following attorneys are who represented Fletcher Dorsett in the following stages of the
judgement in challenge:
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Court for this judgement.

The following attorneys are who represented Fletcher Dorsett in the following stages of
judgement in challenge:

Arraignment:

Sean P. Vitrano

P.O. Box 1498

Wakeforest, N.C. 27588-1498

Preliminary Hearing:

Sean P. Vitrano

P.O. Box 1498

Wakeforest, N.C. 27588-1498

Plea Hearing:

Sean P, Vitrano

P.O. Box 1498

Wakeforest, N.C. 27588-1498

Trial:
N/A

Sentencing Hearing:

Sean P. Vitrano

P.O. Box 1498

Wakeforset, N.C. 27588-1498

Appeal:
N/A

Post-conviction proceeding(s}:
N/A

Appeal from any ruling in a post-conviction proceeding:
N/A
There were ONE counts in this indictment.

There are NO future sentences to serve once THIS sentence has been completed.

THEREFORE, movant asks that this Honorable Court grant the following relief:

Vacate movant's sentence and resentence movant within the applicable guidelines set forth
in the United States Sentencing Guideline Manual pursuant to the provisions set forth in the
aforementioned grounds: or any other relief that this Honorable Court deems appropriate

 

Fletcher Dorsett, Petitioner
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Fletcher Dorsett, Petitioner
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DISTRICT OF MARYLAND oo UTY

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BY

CERTIFICATE OF SERVICE

I declare (or certify, verify or state) under penalty of perjury that the foregoing is

true and correct and that this motion under 28 United States Code, Section 2255 was placed
in the institution's mailing system on July 26, 2016.

Pursuant to FRAP 25(a)(2})(c) “papers filed by an inmate confined in an institution are
timely filed if deposited in the institution's internal mail system on or before the last
day of filing. Timely filing of papers by an inmate confined in an institution may be shown
by a notarized statement or declaration (in compliance with 28 U.S.C. §1746) setting

forth the date of deposit and stating that first-class postage was prepaid." This motion
under 28 United States Code, Section 2255 is going to the Honorable Benson E. Legg, and the
Court Clerk's Office at 101 West Lombard Street, Baltimore, Maryland 21201-2605; also to the
United States Attorney's Office at 101 West Lombard Street, Baltimore, Maryland 21201-2605.
FURTHER, it is requested that the Court Clerk's Office FILE/STAMP COPY AND RETURN TO ALL
PARTIES INVOLVED.

Commonwealth of Pennsylvania
County of

Sworn to and subscribed before me

this LP day of ely, 20

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COMMONWEALTH OF PENNSYLVANIA
Notarial Seal
Cheri R. Harrington, Notary Public
Lafayette Twp., McKaan County
_ My Commission Expires Sept. 17, 2017
HEMBER, FEANSYLVANLA ASSOCIATION OF NOTARIES

         

 

Fietcher Dorsett, Petitioner
Sworn to as true and correct
under the penalties of perjury
pursuant to 28 U.S.C. §1746.

  
   

Sworn to and scribed before me this 19th day of July, 2016.
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Reg. #:
P.O. Box 8000
Bradford, Pa 16701

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43264-0370

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US District Court

c/o Court Clerk's Office
101 W Lombard ST
Baltimore, MD 24201

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